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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

JWD   AUTOMOTIVE,  INC.,   a
Florida         corporation,
individually   and  as   the
representative of a class of
similarly situated persons
d/b/a NAPA Auto Care of Cape
Coral,

           Plaintiff,

v.                                   Case No: 2:15-cv-793-FtM-29MRM

DJM   ADVISORY  GROUP   LLC,
BANNER     LIFE    INSURANCE
COMPANY, and WILLIAM PENN
LIFE INSURANCE COMPANY OF
NEW YORK,

           Defendants.


                  FINAL APPROVAL ORDER AND JUDGMENT

      The parties’ proposed class action settlement coming before

the Court for a fairness hearing on December 4, 2017 in Room 6A,

United States District Court for the Middle District of Florida,

Ft. Myers Division, 2110 First Street, Fort Myers, Florida 33901,

at which all persons were given an opportunity to be heard, the

Court   considering    the   submissions   of   the   parties,   including

Plaintiff’s unopposed Brief in Support of Final Approval of Class

Action Settlement (Doc. #79) filed on November 28, 2017, the

statements of counsel, and the fairness of the settlement’s terms;
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      IT IS HEREBY ORDERED THAT:

      1.    This   Court   grants    final    approval   of   the    Settlement

Agreement, including, but not limited to, the releases therein,

and finds that the settlement is in all respects fair, reasonable,

and adequate, and in the best interests of all those affected by

it.   No objections were filed.           Accordingly, this Final Approval

Order and Judgment binds all members of the Class, except those

twenty-one (21) persons/entities who opted out of the settlement,

as listed in Exhibit 1 attached hereto.

      2.    This Court has jurisdiction over JWD Automotive, Inc.

(Plaintiff), the members of the Class, Defendants, DJM Advisory

Group LLC, Banner Life Insurance Company, and William Penn Life

Insurance Company of New York (collectively, Defendants), and the

claims asserted in this lawsuit.

      3.    This Court finds that the parties entered into the

Settlement    Agreement     in     good   faith,     following     arm’s-length

negotiations, and that it was not collusive.

                           Class Certification

      4.    On August 15, 2017, pursuant to Federal Rule of Civil

Procedure    23,    the    Court    entered     an    order   titled    “Order

Preliminarily      Approving     Settlement    and    Certifying    Settlement

Class” (the Preliminary Approval Order) (Doc. #77).

      5.    The Preliminary Approval Order certified the following

class solely for purposes of settlement:



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             All persons who were sent one or more
             facsimiles December 21, 2011 to present which
             provided: ALL TERM INSURANCE.COM Protect your
             most valuable asset – Your Income with
             AFFORDABLE TERM LIFE INSURANCE Are you paying
             too much?... Legal & General America Life
             Insurance products are underwritten and issued
             by Banner Life Insurance Company, Urbana, MD
             and William Penn Life Insurance Company of New
             York, Garden City, NY….and contained reference
             to DJM Advisory Group, LLC on the fax quoting
             Term Life Insurance rates.

       6.    In the Settlement Agreement, the parties agreed that

this    is   a   proper   class    definition    solely   for   purposes   of

settlement.      Excluded from the Settlement Class are (a) Defendants

and their agents or affiliates, present and former officers,

directors, shareholders, employees, and their successors, heirs,

assigns, and legal representatives; (b) all persons who opted out

of the settlement by timely submitting their opt out request; and

(c) members of the judiciary.

       7.    The Preliminary Approval Order approved the parties’

request to provide notice of the proposed class action settlement

to the 430,614 fax numbers making up the class in this case.

       8.    The Preliminary Approval Order also appointed Plaintiff

as the Class Representative and appointed attorney Ryan M. Kelly

of Anderson + Wanca as Class Counsel.

                                  Class Notice

       9.    On November 28, 2017, Plaintiff submitted the affidavit

of Dorothy Sue Merryman (Doc. #79-2), a Project Manager for the




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settlement     administrator          the    parties    used     in     this   case,    to

demonstrate        that    the    “Notice     of     Class     Action    and     Proposed

Settlement” (the Notice) was sent (or attempted to be sent) to the

members of the Class, as ordered in the Preliminary Approval

Order. 1

      10.    Based upon the evidence submitted as of the date of the

December 4, 2017 hearing, the Court finds that the Notice and the

process by which it was sent fully complied with the requirements

of Federal Rule of Civil Procedure 23 and due process under the

United      States        Constitution,       constituted        the      best     notice

practicable under the circumstances, and was due and sufficient

notice to all persons entitled to notice of the settlement of this

lawsuit.

                              Objections and Opt-Outs

      11.    No     members      of   the    Class     filed    objections       to    the

settlement.

      12.    The     twenty-one       persons/entities         listed     on     attached

Exhibit 1 have requested exclusion and are hereby excluded from

the Class, this case, and the effect of this Final Approval Order

and Judgment.


1 According to the Merryman Affidavit, the Settlement Administrator
attempted to fax the Notice to all 430,616 class members, resulting
in 299,809 successful transmissions.        Of the 130,807 failed
transmissions, the Settlement Administrator was able to obtain a
valid mailing address for 83,560 of those fax numbers, to which
the Notice was mailed.



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                             Class Compensation

      13.   Defendants    have     created    a     settlement    fund   of

$3,500,000.00 (the Settlement Fund) and made it available to pay

(1) class member claims, (2) an incentive award to Plaintiff for

serving as the Class Representative, and (3) Class Counsel’s

attorneys’ fees and reasonable out-of-pocket costs and expenses.

      14.   The parties agreed in the Settlement Agreement that each

member of the Class who submitted a timely and valid Claim Form

would be paid up to $500.00 per fax or $500.00 per unique fax

number, whichever was greater, subject to a pro rata reduction in

the event that the claims and other payments approved herein

otherwise exceeded the total Settlement Fund.

      15.   A total of 17,284 claim forms were timely filed, to which

an additional 188 faxes were attached, bringing the total number

of timely claims to 17,472.

      16.   According to the Merryman Affidavit, as of December 4,

2017, 114 late-but-otherwise-valid claim forms were received, to

which an additional 3 faxes were attached. However, as agreed to

by the parties and stated in both the Notice and Proof of Claim

form, only timely and valid claims (those received on or before

October 21, 2017) will be paid.      No late claims will be considered.

      17.   Each    timely      claimant     will     therefore    receive

approximately $120.78 per fax, payable by check.           The Settlement

Administrator will cause these checks to be mailed after receiving



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the funds from Defendants.      As agreed between the parties, checks

issued to those class members who submitted timely claims will be

void 91 days after issuance.         Any money remaining from checks

issued to claiming class members but not cashed within 90 days of

issuance shall be returned to Defendants.

       Award of Incentive Award and Attorneys’ Fees and Costs

       18.   Pursuant to the parties’ agreement, the Court approves

as reasonable and hereby awards a $15,000.00 incentive award to

Plaintiff for serving as the class representative in this matter. 2

       19.   The parties have agreed to an award of attorneys’ fees

to Class Counsel in the amount of $1,050,000.00, which represents

30% of the total Settlement Fund, plus reimbursement for the

reasonable out-of-pocket expenses and costs of notice and claims

administration, which total $324,742.74.

       20.   Because the $1,050,000.00 proposed attorneys’ fee award

both    falls   within   this    Circuit’s    presumptively     reasonable

“benchmark” range, Waters v. International Precious Metals Corp.,

190 F.3d 1291, 1294 (11th Cir. 1999), and has been shown to be

supported by the factors set forth in Johnson v. Georgia Highway



2 At the final hearing, the Court raised with the parties the
discrepancy between the Settlement Agreement (Doc. #76-1), which
states that Plaintiff will be awarded a $9,5000.00 incentive fee,
and Plaintiff’s final brief (Doc. #79), which requests a $15,000.00
incentive fee. Counsel for both parties stated that the $9,500.00
figure was erroneous and that the parties had in fact agreed on an
incentive award of $15,000.00.



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Exp., Inc., 488 F.2d 714, 717 (5th Cir. 1974), abrogated on other

grounds by, Blanchard v. Bergeron, 489 U.S. 87 (1989), the Court

approves it as reasonable.

      21.   Per the Court’s leave (Doc. #82), Plaintiff filed under

seal a $287,995.00 invoice for the class administrator’s services

and a receipt showing full payment for the same.

      22.   The Court finds reasonable and thus grants Plaintiff’s

request for reimbursement of the $287,995.00 paid to the class

administrator.

      23.   Per the Court’s Order (Doc. #84), Plaintiff submitted

supporting documentation for the remaining claimed expenses (Doc.

#87-1).

      24.   The Court finds reasonable and thus grants Plaintiff’s

request for reimbursement of $36,702.88 in additional costs and

expenses associated with counsel’s representation of Plaintiff in

this matter. 3

      25.   This   Final   Approval    Order    and   Judgment    and   the

Settlement Agreement (Doc. #76-1) (including exhibits thereto) may

be filed in any action against or by any released person to support



3 In his Declaration (Doc. #87), Plaintiff’s counsel informed the
Court that Plaintiff was seeking reimbursement of $36,702.88 -
$44.86 less than the $36,747.74 amount to which the parties had
previously agreed - due to the fact that counsel’s actual travel
expense for attending the final approval hearing was less than the
amount estimated in Plaintiff’s final brief, which was submitted
before the hearing.



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a defense of res judicata, collateral estoppel, release, good faith

settlement, judgment bar or reduction, or any theory of claim

preclusion or issue preclusion or similar defense or counter claim.

                          Releases and Dismissal

       26.    All claims or causes of action of any kind by Plaintiff

and all Class members are forever barred and released pursuant to

the terms of the releases set forth in the parties’ Settlement

Agreement.      This release does not apply to actions brought by the

Government.

       27.    This lawsuit is dismissed with prejudice as to Plaintiff

and all members of the Class (except that the dismissal is without

prejudice as to those persons identified in Exhibit 1), and without

fees or costs except as provided above.

                             Other Provisions

       28.    The Court adopts and incorporates all of the terms of

the Settlement Agreement (Doc. #76-1) by reference here, except as

to the 33 1/3% attorneys’ fee award proposed therein and the $9,500

incentive award to Plaintiff.

       29.    This Court retains nonexclusive continuing jurisdiction

over   this    action,   Plaintiff,   all   members   of   the   Class,   and

Defendants to determine all matters relating in any way to this

Final Approval Order and Judgment, the Preliminary Approval Order,

or the Settlement Agreement, including, but not limited to, their

administration, implementation, interpretation, or enforcement.



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      30.   The Parties to the Settlement Agreement shall carry out

their respective obligations thereunder.

      31.   The Court finds that there is no just reason to delay

the enforcement of or appeal from this Final Approval Order and

Judgment.

      32.   The Clerk shall terminate all deadlines and close the

case.

      DONE and ORDERED at Fort Myers, Florida, this 9th day of

January, 2018.




Copies:
Counsel of Record




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